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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,

                  Plaintiff/Counter-Defendant      C.A. No. 20-984-WCB

 v.

 SCENTAIR TECHNOLOGIES, LLC,

                  Defendant/Counter-Plaintiff



                   NOTICE OF WITHDRAWAL OF CERTAIN COUNSEL

           PLEASE WITHDRAWAL THE APPEARANCE of Alexandra M. Joyce, Esq., of

McCarter & English, LLP on behalf of Plaintiff/Counter-Defendant Prolitec Inc. (“Prolitec”) in

the above captioned matter. Prolitec will continue to be represented by counsel of record from

Akerman LLP and Seed IP Law Group LLP.

 Dated: July 30, 2024                            McCARTER & ENGLISH, LLP

                                                 /s/ Alexandra M. Joyce
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                                                 Withdrawing Counsel for Plaintiff/Counter-
                                                 Defendant Prolitec Inc.




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